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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                           CIVIL ACTION

VERSUS                                                               No. 12-859

MARLIN GUSMAN, ET AL.                                               SECTION I

                                   ORDER

      IT IS ORDERED that an in-court status hearing with the parties, the

Monitors, and the Compliance Director is scheduled for Monday, January 29,

2018, at 8:00 am.



      New Orleans, Louisiana, January 5, 2018.




                                            ___________________________________
                                                   LANCE M. AFRICK
                                           UNITED STATES DISTRICT JUDGE




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